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U.S. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

 

FILED
IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS BEY 2 A nae
FORT WORTH DIVISION
CLERK U.S. BISTRICT COURT
UNITED STATES OF AMERICA By:
Dupuy

¥v. No, 4:22-MJ- 775

CHRISTOPHER ALLEN HINSLEY

CRIMINAL COMPLAINT

I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:
Alleged Offense:

On or about September 3, 2022 in the Northern District of Texas, Christopher
Allen HINSLEY, the defendant, did knowingly escape from the custody of the Attorney
General and his authorized representative in that the defendant did knowingly escape
from the Bureau of Prisons while under a sentence imposed by United States District
Judge Reed O’Connor, by virtue of a Judgment and commitment of the United States
District Court for the Northern District of Texas upon revocation of supervised release
aiter a conviction for the commission of Felon in Possession of a Firearm, in case number
4:19-CR-343.

In violation of 18 U.S.C, § 751(a).
Introduction:
1. I, Logan Walker, being duly sworn, do hereby depose and state that Iam a Deputy
United States Marshal for the Northern District of Texas and authorized to enforce the

laws of the United States of America, including but not limited to investigations to locate

and apprehend federal fugitives.

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2. [have been employed with the United States Marshals Service since 2010 and am
currently assigned to the Fort Worth Division. I successfully completed the Criminal
Investigator Training Program (CITP), and the Basic Deputy Training Program at the
Federal Law Enforcement Training Center (FLETC) in Glynco, Georgia. During my time
of employment, I have investigated various offenses, including but not limited to, Federal
Escape, Fugitive Supervised Release Violations, Dangerous Drugs, Failure to Register as
a Sex Offender, and Felon in Possession of Firearms.

3, The information contained in this affidavit, is based on my personal knowledge
and information provided to me by other law enforcement officers, and is provided for
the limited purpose of demonstrating probable cause to support the issuance of a criminal
complaint. This affidavit; therefore, does not summarize all the facts known to me or
other law enforcement agents and officers at this time.

Probable Cause:

4, On April 1, 2020, Christopher Allen HINSLEY was sentenced by United States
District Judge Reed O’Connor, in case number 4:19-CR-343, in the Northern District of
Texas for Felon in Possession of a Firearm. Upon conviction for the commission of Felon
in Possession of a Firearm, HINSLEY was ordered committed to the custody of the
United States Bureau of Prisons (BOP) for a term of 30 months and three years of

supervised release.

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5. On March 25, 2022, HINSLEY’s federal supervised release was revoked by
United States District Judge Reed O’ Connor. HINSLEY was ordered committed to the
custody of the BOP for a seven-month term of imprisonment.

6, On September 3, 2022, at 1:30 a.m., staff at Volunteers of America Residential
Reentry Center, a BOP facility, located at 2710 Avenue J, Fort Worth, Texas 76105
completed a head count of the facility and HINSLEY was not located. BOP then issued a
Notice of Escaped Federal Prisoner to the United States Marshals Service. HINSLEY
was lawfully committed to the custody of the BOP when he escaped custody.

7. Based on my training, education, and experience, and the information provided to
me, there is probable cause that Christopher Allen HINSLEY, a person lawfully confined
at the direction of the Attorney General by virtue of a judgment and commitment of a
United States District Court, did knowingly and unlawfully escape from custody in

violation of 18 U.S.C § 751{a).

  

‘4 if
Députy Logan Walker
United States Marshals Service

Sworn to before me, and subscribed in my presence on September ZO_, 2022 at f i 3 ZL
(Sm, in Fort Worth, Texas.

 

 

UNITED STATES ac RATE JUDGE

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